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UN|TED STATES OF A|V|ER|CA,

 

P|aintiff,

VS.
CFl. NO. 04-20242-B

CUFiT|S BYRD,

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FYING PEFl|OD OF EXCLUDABLE DELAY
AND SETTlNG

 

This cause came on for a report date on Ju|y 25, 2005. At that time, counsel tor the
defendant requested a continuance of the August 1, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to September 6, 2005 with a
gport date of N'|onday, August 29, 2005J at 9:30 a.m., in Courtroom 1, tlth F|oor of the
Federa| Bui|ding, Niemphis, TN.

The period from August 12, 2005 through September 16, 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends ot justice served in allowing for additional

time to prepare outweigh the need tour a spe dy tria|.
|T |S SO OFlDEFlED this [ day§";®%%.

 

. DA lEL BREEN \
uNlT o sTATEs olsTalcT JUDGE

This cocument e;*ttered on the docket .~Yeet in compliance

aim ama 55 and/or 32(5) rsch on ’Z'O,§'_m_

     
 

  

UNITED sTATE D"ISIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
ease 2:04-CR-20242 Was distributed by faX, mail, or direct printing on
August 2, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

